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VIA ECF

Hon. Victor Marrero
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

June 26, 2023

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Marrero,

        We write on behalf of Robert Seiden in his capacity as the Court-appointed temporary
receiver (“Receiver”) over Link Motion Inc. (“LKM”) in advance of the hearing scheduled for
June 27, 2023 and pursuant to the Court’s June 21, 2023 Order (ECF 440) directing the Receiver
to provide the Court with a certified translation of Chinese language documentation of Mr. Guo’s
expenses that were filed with the Receiver’s previous submissions (ECF 428-2; 428-3; 428-4).

       The documentation attached to this letter contains the following:

           •    Exhibit A – A certified translation of 2019 expense documentation (ECF 428-2)
           •    Exhibit B – A certified translation of 2020 expense documentation (ECF 428-3)
           •    Exhibit C – A certified translation of 2021 expense documentation (ECF 428-4)

        The Receiver’s agent, Mr. Guo, has incurred an out-of-pocket cost of approximately
$3,300 for these translations. Pursuant to the Court’s directive (see ECF 440), the Receiver
intends to seek reimbursement of this cost from defendant Shi, consistent with the Receiver’s
position that Shi should be held personally liable for all unfunded liabilities of the Receivership.
See ECF 375, at 16-20.

                                                                Respectfully submitted,

                                                                /s/ Xintong Zhang
                                                                Xintong Zhang
Cc:

Hon. Valerie Figueredo
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007




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